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November 1, 2021

Via ECF                                                     11/2/2021
Honorable Andrew L. Carter, Jr.
United States District Court
Southern District of New York
40 Foley Square, Room 435
New York, New York 10007

        Re:     Pineda v. Barberry Rose Management Company, Inc., et al.
                Docket No. 21-cv-03762 (ALC)(SLC)

Dear Judge Carter:

This firm is counsel for Defendants in the above-referenced action. Under the Court’s October
8, 2021 order (dkt #30), the parties’ settlement agreement is to be submitted for Court approval
by November 3, 2021. Defendants write jointly with Plaintiff request an additional two weeks,
until November 17, to submit the settlement agreement. The parties have resolved all differences
of significance but still need to finalize the document and have it executed by the parties. The
additional two weeks will allow them to do so. The parties have no requested any other
extensions of this date and it will not affect any other deadlines in this case.




                                            Respectfully submitted,
                                            CLIFTON BUDD & DEMARIA, LLP

                                            By:
                                                  Daniel W. Morris




  cc: Counsel of Record (via ECF)


   Extension GRANTED. The parties shall file the settlement
   agreement and fairness letter no later than November 17, 2021.

                                                                     Dated: November 2, 2021
